Case 2:15-cv-00997-JRG-RSP Document 21 Filed 08/28/15 Page 1 of 1 PageID #: 90




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

                      Plaintiff,
                                                        Civil Action No. 2:15-cv-997
        v.

  SONY COMPUTER ENTERTAINMENT
 .AMERICA LLC,

                      Defendant.


                                          ORDER

       Before the Court is Plaintiff Display Technologies, LLC’s Agreed Motion for Leave to File its

Amended Complaint for Patent Infringement. After careful consideration, and noting that the Motion is

unopposed, the Court is of the opinion that the Motion should be GRANTED.

       It is therefore ORDERED that Plaintiff Display Technologies, LLC shall have leave to file its

Amended Complaint for Patent Infringement.
      SIGNED this 3rd day of January, 2012.
        SIGNED this 27th day of August, 2015.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
